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                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                           ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                         56 Forsyth Street, N.W.
                                         Atlanta, Georgia 30303

David J. Smith                                                                For rules and forms visit
Clerk of Court                                                                www. cal 1 .uscourts.gov

                                          June 22, 2023

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Appeal Number: 23-90013-B
Case Style: Gawain Baxter, et al v. David Miscavige, et al
District Court Docket No: 8:22-cv-00986-TPB-JSS

Please use the appeal number for all filings in this Court.

Please take notice that the following petition has been filed:

MISCELLANEOUS CASE DOCKETED. Petition for permission to appeal pursuant to 1292(b)
filed by Petitioners Gawain Baxter, Laura Baxter and Valeska Paris.
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Answer to Petition
A party may file an answer in opposition or a cross-petition by ( **06/30/2023** ), after which
the petition and the answer will be submitted to the Court. See FRAP 5(b).

All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.

Attorney Admissions
Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
this court or for this particular proceeding, See 11th Cir. R. 46-1; 46-3; 46-4. In addition, all
attorneys (except court-appointed attorneys) who wish to participate in this appeal must file an
appearance form within fourteen (14) days after this letter's date. The Application for
Admission to the Bar and Appearance of Counsel Form are available on the Court's website.
The clerk generally may not process filings from an attorney until that attorney files an
appearance form. See 11th Cir. R. 46-6(b).

Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
11th Cir. R. 26.1-1. In addition:

   •    Appellants/Petitioners must file a CIP within 14 days after this letter's date.
   •    Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after
        this letter's date, regardless of whether Appellants/Petitioners have filed a CIP.
    •   Only parties represented by counsel must complete the web-based CIP. Counsel must
        complete the web-based CIP, through the Web-Based CIP link on the Court's website,
        on the same day the CIP is first filed.

The failure to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal of the
case or appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other
sanctions on counsel, the party, or both. See 11th Cir. R. 26.1-5(c).

Obligation to Notify Court of Change of Addresses
Each pro se party and attorney has a continuing obligation to notify this Court of any changes to
the party’s or attorney’s addresses during the pendency of the case. See 11th Cir. R. 25-7.

Clerk's Office Phone Numbers
General Information: 404-335-6100          Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135          Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141
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Enclosure(s)

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                      OF APPEALS                                 Date Filed: 08/02/2023   Page: 7 of 8       » im PITNEY BOWES

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